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                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza
                                                    New York, New York 10278



                                                     October 10, 2024

BY ECF

Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

         Re:    United States v. Ryan Salame, 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        The Government writes in opposition to defendant Ryan Salame’s eleventh-hour request
to continue by two months the date for his voluntary surrender to the Bureau of Prisons, currently
scheduled for October 11, 2024.

        Salame has not offered a compelling justification to continue his surrender date a second
time. This Court granted a prior request by Salame to continue his self-surrender date by 45 days
so that Salame would have time undergo what he described as “urgent and necessary medical
treatment and surgery.” (Dkt. 467). In that time, Salame appears to have substantially recovered.
He attended a court conference on September 12, 2024, at which he appeared physically recovered
and was more than capable of answering the Court’s questions with no signs of drooling or slurred
speech. He recently participated in a videotaped interview with Tucker Carlson, during which he
similarly appears physically recovered and entirely unimpaired while answering questions. 1 While
Salame has submitted a doctor’s letter in support of his request, this time the outlined medical
treatment—which follows already-completed necessary medical treatment and surgery—seems
largely cosmetic and nonurgent. The letter does not explain why the outlined procedures could
not be performed after Salame’s release, even if not his or his doctor’s preferred timeline.

        Moreover, while the Government consented to Salame’s prior request, that was before he
submitted a false affidavit to this Court under penalty of perjury, and before he asserted at the
September 12, 2024 conference that he had lied to the Court under oath. In his recent interview
with Tucker Carlson, Salame repeated some of the same lies (about the Government threatening
his loved ones and denying guilt of offenses for which he pleaded guilty under oath) that he put
before the Court in his false affidavit and testimony. Under these circumstances, Salame has given
the Government and this Court little reason to believe that his eleventh-hour request is being made
based on a good-faith need for medical treatment, rather than to delay his prison sentence and

1
    https://tuckercarlson.com/tucker-show-ryan-salame.
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continue to make false and misleading public statements apparently intended to undermine the
integrity of these proceedings.

        For these reasons, the Government opposes Salame’s request, which this Court should
deny.


                                          Respectfully submitted,

                                          DAMIAN WILLIAMS
                                          United States Attorney

                                       by: /s/ Danielle R. Sassoon
                                          Danielle R. Sassoon
                                          Nicolas Roos
                                          Thane Rehn
                                          Danielle Kudla
                                          Assistant United States Attorneys


cc: Defense Counsel (by ECF)
